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                       UNITED STATES BANKRUPTCY COURT
                                    FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


      Mohammad A. Rafigh
      and
      Iren Rafigh                                         Chapter 13

                                                          Case No. 15-12136-BFK


                                Debtors

                      REPORT BY TRUSTEE OF COMPLETION
                             OF PLAN PAYMENTS


          NOW COMES the Chapter 13 Trustee herein, Thomas P. Gorman, and certifies to
      the Court that the Debtors have completed their plan payments pursuant to the
      confirmed plan in this case. Your trustee will proceed to close this case and file his
      “Final Report and Account” upon the clearing of all outstanding checks.

                                                      Respectfully submitted,




                                                      ___/s/ Thomas P. Gorman____
                                                      Thomas P. Gorman, Trustee
                                                      300 N. Washington Street, Suite 400
                                                      Alexandria, VA 22314
                                                      (703) 836-2226
                                                      VSB #26421

      Dated: October 3, 2018
